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 3   Telephone: (888)308-1119 ext. 11
     Facsimile: (888)535-8267
 4

 5   Attorney for Plaintiff Jorge Flores

 6                                   UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF CALIFORNIA
 7                                        OAKLAND DIVISION
 8                                                   )
                                                     )   Case No. 17-cv-02031-JSC
 9   JORGE FLORES,                                   )
                                                     )
10                    Plaintiff,                     )
                                                     )
11   v.                                              )
                                                     )   NOTICE OF VOLUNTARY DISMISSAL
12                                                   )
     TACS III, LLC;                                  )
13   DAVID MICHAEL CARR; and                         )
     DOE 1-5,                                        )
14                                                   )
                                                     )
15                                                   )
                      Defendants.                    )
16                                                   )
     ____________________________________
17

18
            NOTICE IS HEREBY GIVEN that pursuant to Fed.R.Civ.Pro. 41(a), Plaintiff
19

20
     voluntarily dismisses the entire action with prejudice.

21
            December 18, 2017
22                                                   s/ Robert Amador
23                                                   ROBERT AMADOR, ESQ. (CA Bar #269168)
                                                     Attorney for Plaintiff JORGE FLORES
24                                                   Centennial Law Offices
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28                                         NOTICE OF VOLUNTARY DISMISSAL

                                                         1
                Case 3:17-cv-02031-JSC Document 27 Filed 12/18/17 Page 2 of 2




 1
                                        CERTIFICATE OF SERVICE
 2
              I certify that on this date, December 18, 2017, I caused a copy of the foregoing
 3
     NOTICE OF VOLUNTARY DISMISSAL to be mailed, First Class U.S. Mail, to the following
 4

 5   party:

 6   DAVID MICHAEL CARR
 7
     3145 Geary Blvd., Box 749
     San Francisco, CA. 94118
 8
     DAVID MICHAEL CARR
 9   305 W Broadway, Box 114
10
     New York, NY 10013

11

12
                                                     s/ Robert Amador
13                                                  ROBERT AMADOR, ESQ. (CA Bar #269168)
                                                    Attorney for Plaintiff JORGE FLORES
14                                                  Centennial Law Offices
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28                                        NOTICE OF VOLUNTARY DISMISSAL

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